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                                 132546

                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to:

1:22-cv-01328         1:22-cv-01361
1:22-cv-01352         1:22-cv-01375
1:22-cv-01355         1:22-cv-01382
1:22-cv-01356         1:22-cv-06834



                                APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case
as counsel for:

         Cook Medical LLC (which is alleged in some cases to be also known as “Cook
         Medical, Inc.”);
         Cook Incorporated (which is alleged in some cases to be doing business as “Cook
         Medical”); and
         William Cook Europe ApS

Dated:          July 21, 2022                /s/ Kip S. M. McDonald
                                             Andrea Roberts Pierson (# 18435-49)
                                             Kip S. M. McDonald (# 29370-49)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 21, 2022, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.


                                                    /s/ Kip S. M. McDonald




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